         Case 3:15-cr-00596-JLS                          Document 238                  Filed 01/12/16              PageID.958                  Page 1 of 3
                                                                                                                                        FILED
      'Q.AO 2458 (CASD) (Rev. 12111) Judgment in a Criminal Case
                 Sheet 1
                                                                                                                                        JAN 122016
                                                                                                                     ''1     CLERK, U.S. DISTRICT COURT
                                                UNITED STATES DISTRICT COUR                                                SOUTHERN DISTRlcTO~~ORNIA
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                       BY          .            "'.           EPUTY

                      UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                          v.                                           (For Offenses Committed On or After November I, 1987)

                     ELVA MARICELA ESPINOZA (7)                                        Case Number: 15CR0596-BEN
                                                                                       SAMANTHA A. GREENE
                                                                                       Defendant's Attorney
     REGISTRATION NO. 44161298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _2_0_F_T_H,-E_IN_D_I-=C_T_ME_N_T...:.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
     Title & Section                           Nature of Offense                                                                                Numberls)
18 USC 1956(a)(B)(i)                    CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS                                                                   2
and 1956(h)




        The defendant is sentenced as provided in pages 2 through                  3         of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 D Count(s)                                                                             is   0    areD dismissed on the motion of the United States.
 181 Assessment: $100.00 forthwith or at the rate of not less than $10.00 per month, commencing within 60 days of 12/14/2015.

 181 Fine waived                                     D    Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgt!}.ent are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defe         tIs economic circumstances.


                                                                                                                                           r




                                                                                UNITED STATES DISTRICT JUDGE

                                                                                                                                                  15CR0596-BEN
        Case 3:15-cr-00596-JLS                     Document 238                Filed 01/12/16              PageID.959              Page 2 of 3

AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Judgment Page        2     of        3
DEFENDANT: ELVA MARICELA ESPINOZA (7)
CASE NUMBER: 15CR0596-BEN
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance, The defendant shall refrain from any unlawful use of a controlled
substance, The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court,                                         --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse, (Check, if applicable,)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U,S,c' § 16901, et seq,) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense, (Check if applicable,)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable,)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below), The defendant shall
also comply with the special conditions imposed,


                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record orpersonai history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement,



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        AD 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                     Sheet 3 -   Special Conditions
                                                                                                        Judgment Page -1...- of        3
        DEFENDANT: ELVA MARICELA ESPINOZA (7)                                                      II
        CASE NUMBER: JSCROS96-BEN




                                                  SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband Of evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter Ibe United States illegally.

r8I Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental heallb provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. Is required to contribute to the costs of services rendered in an amount
    to be determined bv Ibe probation officer, based on Ibe defendant's ability to pay.                                                           II
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within       days.
181 Complete 200 hours of community service in a program approved by Ibe probation officer wilbin 24 months.
o   Reside in a Residential Reentry Center (RRC) as directed by Ibe probation officer for a period of

D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
    contribute to Ibe costs of services rendered in an amount to be determined by Ibe probation officer, based on the defendant's ability to pay.




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